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 5

 6                      UNITED STATES DISTRICT COURT
 7                           DISTRICT OF NEVADA
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 8
     UNITED STATES OF AMERICA,                      )      Case No.: 2:14-cr-00264-APG-VCF
                                                    )
 9                                                  )      ORDER SEALING WRIT OF
                     Plaintiff,
                                                    )      HABEAS CORPUS AD
10                                                  )      TESTIFICANDUM FOR “J.C.,”
            vs.                                     )      ID#148613 03
11                                                  )
     TYRAL EDWARD KING,                             )
12                                                  )
                     Defendant.                     )
13

14          Based on the Motion of the Government, and good cause appearing therefore, IT IS

15   HEREBY ORDERED that the Petition for a Writ of Habeas Corpus ad Testificandum, and the

16   accompanying Order, that was filed by the United States on August 10, 2015, shall be SEALED

17   until the further Order of this Court.

18                  DATED this 10th day of August, 2015.

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     ____________________________________
20   UNITED STATES MAGISTRATE JUDGE

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